      Case: 3:18-cv-00136-WHR Doc #: 23 Filed: 02/11/19 Page: 1 of 2 PAGEID #: 102




                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 JOHNNY L. HANEY,                                      :    Case No. 3:18-cv-00136-WHR
                                                       :
                  Plaintiff,                           :    Judge Walter H. Rice
                                                       :
 v.                                                    :    STIPULATION OF DISMISSAL
                                                       :    WITH PREJUDICE
 CITY OF SPRINGFIELD, OHIO, et al.,                    :
                                                       :
                  Defendants.                          :


         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), all parties stipulate to the dismissal of all claims

filed this action with prejudice. With the understanding that no deposition costs will be taxed as

court costs, costs shall be paid by Defendant City of Springfield.

                                                 Respectfully submitted,

 /s/ Bradley D. Anderson                               /s/ Jerome M. Strozdas
 Bradley D. Anderson (0061325)                         Jerome M. Strozdas (0003263)
 Kevin M. Darnell (0095952)                            City of Springfield Law Director
 RION, RION & RION, L.P.A., INC.                       76 East High Street
 130 W. Second St., Suite 2150                         Springfield, Ohio 45502
 Dayton, OH 45402                                      Phone: (937) 324-7352
 Phone: (937) 223-9133                                 Fax: (937) 328-3416
 Fax: (937) 223-7540                                   jstrozdas@springfieldohio.gov
 banderson@rionlaw.com
 kdarnell@rionlaw.com                                  /s/ W. Charles Curley
                                                       W. Charles Curley (0007447)
 Attorneys for Plaintiff Johnny L. Haney               Weston Hurd LLP
                                                       10 W. Broad St., Suite 2400
 /s/ Robert J. Byrne__________                         Columbus, Ohio 43215
 Robert J. Byrne (0040299)                             Phone: (614) 280-0200
 Assistant Attorney General                            Fax: (614) 280-0204
 150 E. Gay St., 21st Floor                            wcurley@westonhurd.com
 Columbus, Ohio 43215-3130
 Robert.byrne@ohioattorneygeneral.gov                  Attorneys for Defendants City of
 Attorney for State of Ohio,                           Springfield, Cassidy Cantrell, and Justin
 Department of Medicaid                                Massie
   Case: 3:18-cv-00136-WHR Doc #: 23 Filed: 02/11/19 Page: 2 of 2 PAGEID #: 103




                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Stipulation of Dismissal with Prejudice was

filed electronically on the 11th day of February 2019, in accordance with the Court's electronic

filing guidelines. Service on all parties of record will be made through the Court's Electronic

Filing System in accordance with Fed. R. Civ. P. 5(b)(2)(E). The parties may also access this

filing through the Court's Electronic Filing System.

                                                       /s/ W. Charles Curley
                                                       W. Charles Curley (0007447)




                                                2
